             Case 2:19-bk-14989-WB                   Doc 394 Filed 10/28/19 Entered 10/28/19 12:16:25                                       Desc
                                                      Main Document    Page 1 of 3



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
    Email Address
    Richard W. Esterkin, SBN 70769
    MORGAN, LEWIS & BOCKIUS LLP
    300 S Grand Ave Fl 22
    Los Angeles CA 90071-3132
    Tel: (213) 612-2500
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         Individual appearing without attorney
         Attorney for: Amazon Logistics, Inc.

                                          UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

    In re:                                                                       CASE NO.: 2:19-bk-14989-WB
                                                                                 CHAPTER: 11
             SCOOBEEZ, et al.,
                                                                                 NOTICE OF MOTION FOR:
                      Debtors and Debtors in Possession.                         AN ORDER: (A) DETERMINING THAT THE AUTOMATIC
                                                                                 STAY DOES NOT REQUIRE AMAZON TO UTILIZE
    _______________________________________                                      DEBTOR’S SERVICES, AND (B) MODIFYING THE
                                                                                 AUTOMATIC STAY
    Affects:
    ! All Debtors
    " Scoobeez, ONLY
                                                                                 (Specify name of Motion)
    " Scoobeez Global, Inc., ONLY
    " Scoobur LLC, ONLY                                                          DATE: 11/19/2019
                                                                                 TIME: 10:00 am
                                                                                 COURTROOM: 1375
                                                                                 PLACE: USBC - Edward Roybal Federal Building
                                                                                          255 E Temple St
                                                                 Debtor(s).               Los Angeles CA 90012

                       Debtors and Debtors in Possession, SCOOBEEZ, et alia,
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)

1 The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global,
Inc. (9779); and, Scoobur, LLC (0343). The Debtors! address is 3463 Foothill Boulevard, in Glendale, California 91214.

              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                                Page 1                          F 9013-1.1.-*(1./,#NOTICE
       Case 2:19-bk-14989-WB                    Doc 394 Filed 10/28/19 Entered 10/28/19 12:16:25                                       Desc
                                                 Main Document    Page 2 of 3


4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 10/28/2019                                                               MORGAN LEWIS & BOCKIUS LLP
                                                                               Printed name of law firm




                                                                               /s/ Richard W. Esterkin
                                                                                Signature


                                                                               Richard W. Esterkin
                                                                               Printed name of attorney




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December 2012                                                        Page 2                             + '$%&"%#%#-*(1./,#/02.)*
     Case 2:19-bk-14989-WB                      Doc 394 Filed 10/28/19 Entered 10/28/19 12:16:25                                            Desc
                                                 Main Document    Page 3 of 3




                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius LLP
 300 S Grand Ave FI 22
 Los Angeles CA 90071-3132
A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR (specify name of motion)
 An Order: (A) Determining That the Automatic Stay Does Not Require Amazon to Utilize Debtor's Services, and (B)
 Modifying the Automatic Stay; Memorandum of Points and Authorities and Request to Take Judicial Notice in Support
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_____         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                      D Service       information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                      D    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 10/28/2019 ,I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St
Los Angeles CA 90012

                                                                                      D     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  10/28/2019       Renee Robles
 Date                     Printed Name                                                          Signature



         This form is mandatory.   It has been approved for use in the United States Bankruptcy Court for the Central District of California.


December 2012                                                          Page 3                              F 9013-1.1.HEARING.NOTICE
